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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

HOMELAND INSURANCE COMPANY OF
NEW YORK,
        Plaintiff,
                                                             CIVIL ACTION NO. 1-20-cv-783
v.
CLINICAL PATHOLOGY
LABORATORIES, INC., AND SONIC
HEALTHCARE USA, INC.,
        Defendants.

             DEFENDANTS’ OBJECTION TO THE MAGISTRATE JUDGE’S
                CLARIFIED REPORT AND RECOMMENDATION ON
               DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       As permitted by this Court’s August 17, 2022 order (Dkt. 134), Defendants file this

objection to one specific piece of the Magistrate Judge’s clarified report and recommendation on

summary judgment. In short, the Magistrate Judge erred in allowing Homeland to maintain its

misrepresentation defense, which fails as a matter of law regardless of the statutory notice issues

on which the R&R found a fact question. Dkt. 133 at 2; Dkt. 112 at 26-27. Defendants object to

the R&R’s recommendation on this defense and ask the Court to conduct a de novo review, reject

that recommendation, and grant summary judgment on misrepresentation. FED. R. CIV. P. 72(b)(3).

                                           ARGUMENT

       In the initial R&R, the Magistrate Judge denied Defendants’ summary-judgment motion

on Homeland’s misrepresentation defense after finding a fact issue on whether Homeland timely

gave notice of its intent to rely on this theory, as required by Texas Insurance Code § 705.005.

Dkt. 112 at 25-27. But that was not the only ground on which Defendants had moved for summary

judgment on misrepresentation. Defendants also argued that Homeland’s misrepresentation

defense fails as a matter of law because it turns on representations in a letter (the 2016 Letter) that



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was not incorporated into the 2017 Policy and therefore has no bearing on the viability of that

policy—the policy under which Defendants are seeking coverage. Dkt. 63 at 23. After issuance

of the R&R, Defendants sought clarification as to this matter-of-law argument, and specifically,

whether the R&R had permitted Homeland to maintain both of its asserted misrepresentation

theories: that Defendants (1) allegedly made misrepresentations in the 2016 Letter, and (2)

allegedly made misrepresentation “in the claims process.” See Dkt. 119 at 2-3; Dkt. 132 at 3-4.

The Magistrate Judge appeared to find that both theories are potentially valid. See Dkt. 133 at 2.

       Respectfully, that conclusion is legally incorrect—neither misrepresentation theory is valid

under the controlling terms of the 2017 Policy. The context of Homeland’s claim is important

here: Homeland asserts these alleged misrepresentations as a defense to coverage under the 2017

Policy (Dkt. 53 at 45-46), and the parties bargained for policy language governing alleged

misrepresentations. As the R&R properly noted, that provision only says a misrepresentation voids

the policy “[i]n the event of any material untruth, misrepresentation or omission in connection with

any of the particulars or statements in the Application.” Dkt. 112 at 4-5 (emphasis added).

       But the 2016 Letter wasn’t attached to the application or the 2016 Policy. This Court found

as much, and the R&R confirmed it. See id. at 19. The 2016 Letter certainly wasn’t in the

application for the 2017 Policy. The only way to get the 2016 Letter into the 2017 application, as

necessary to defeat coverage, is by incorporation (which never happened, as this Court and the

Magistrate Judge have found, see Dkt. 112 at 19; Dkt. 136 at 7). So, whether the shortcoming in

Homeland’s theory is framed as a lack of incorporation or just a failure to meet the plain language

of the policies’ misrepresentation provision, the 2016 Letter cannot support Homeland’s

misrepresentation defense as a matter of law. The Magistrate Judge erred in concluding otherwise.




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       Homeland’s late-breaking theory about alleged misrepresentations “during the claim”

process fails for similar reasons. See Dkt. 112 at 25; Dkt. 73 at 10-11. Although it is unclear what,

exactly, Homeland is alleging under this theory, one thing is clear—any alleged misrepresentations

during the claim process were not included “in the Application” as required by the policy’s

misrepresentation provision. See Dkt. 112 at 4-5, 19. So even if Homeland could prove such

misrepresentations (and it cannot), they would be contractually irrelevant.

       For those reasons, all of Homeland’s misrepresentation theories fail as a matter of law

regardless of the statutory notice issues under Section 705.005. The Magistrate Judge should have

granted summary judgment dismissing this defense and erred in declining to do so.

                                         CONCLUSION

       Defendants respectfully request that the Court reject the clarified R&R’s recommended

disposition on Homeland’s misrepresentation defense and instead grant summary judgment

dismissing that defense.




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Dated: August 24, 2022
                                   Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that, consistent with Local Court Rule CV-5, a true and correct copy of the
foregoing was sent to all parties of record pursuant to the Electronic Filing Procedures and the
Federal Rules of Civil Procedure on this 24th day of August 2022.


                                             /s/ Ernest Martin, Jr.
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